       Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 1 of 26



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11 and Bradley Garlinghouse

12
                               UNITED STATES DISTRICT COURT
13
                            NORTHERN DISTRICT OF CALIFORNIA
14

15 RYAN COFFEY, individually and on behalf of   )   CASE NO.: 18-cv-03286-PJH
   all others similarly situated,               )
16                                              )   DECLARATION OF VIRGINIA F.
                                  Plaintiff,    )   MILSTEAD IN SUPPORT OF
17                                              )   DEFENDANTS’ ADMINISTRATIVE
                   v.                           )   MOTION TO CONSIDER WHETHER
18                                              )   CASES SHOULD BE RELATED
   RIPPLE LABS INC., et al.,                    )
19                                              )
                                  Defendants.   )
20                                              )
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23                                              )
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        DECLARATION OF VIRGINIA F. MILSTEAD ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO
                        CONSIDER WHETHER CASES SHOULD BE RELATED
        Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 2 of 26



 1 I, Virginia F. Milstead, do declare as follows:

 2         1.      I am an attorney admitted to practice before the courts of the State of California and
 3 have been admitted to this Court. I am counsel in the law firm of Skadden, Arps, Slate, Meagher &

 4 Flom LLP, which is counsel of record for Defendants Ripple Labs Inc., XRP II, LLC, and Bradley

 5 Garlinghouse in the above-captioned matter. The information contained in this declaration is based

 6 on my own personal knowledge, and if called upon to do so, could and would testify competently

 7 thereto.

 8         2.      Pursuant to Civil Local Rules 3-12 and 7-11, I submit this declaration in support of
 9 the accompanying Administrative Motion to Consider Whether Cases Should Be Related.
10         3.      Attached hereto as Exhibit A is a true and correct copy of the Complaint in Avner
11 Greenwald v. Ripple Labs, Inc. et al., No. 18-cv-04790-SK, removed to this Court from San Mateo

12 County Superior Court on August 8, 2018.

13         I declare under penalty of perjury under the laws of the State of California and the United
14 States of America that the foregoing is true and correct.

15         Executed on August 9, 2018 in Los Angeles, California.
16

17                                          By:                 /s/ Virginia F. Milstead
                                                                 Virginia F. Milstead
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        DECLARATION OF VIRGINIA F. MILSTEAD ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO
                        CONSIDER WHETHER CASES SHOULD BE RELATED
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 3 of 26




                        Exhibit A
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 4 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 5 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 6 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 7 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 8 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 9 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 10 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 11 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 12 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 13 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 14 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 15 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 16 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 17 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 18 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 19 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 20 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 21 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 22 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 23 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 24 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 25 of 26
Case 4:18-cv-03286-PJH Document 23-1 Filed 08/09/18 Page 26 of 26
